Case 3:16-cv-00489-CWR-BWR Document 179-7 Filed 03/01/22 Page 1 of 44

=) BENCHMARK
a

July 1, 2021

Kenneth Wayne Jones
County Administrator
Hinds County

Post Office Box 686
Jackson, MS 39205-0686

Re: Benchmark Invoice #130

Dear Mr. Jones:

Please find enclosed our invoice for June 2021. | have attached timesheets as well as a breakdown by
facility for your reference. Please process for payment.

If you have any questions please let me know.
Sincerely,

cil JN tout

David Marsh,
President

DEFENDANT'S
i _ EXHIBIT

1867 Crane Ridge Dr. Suite 200-A, Jackson, MS 39216 + P.O. Box 31177 Jackson, MS 39286-1177

Phone 601-362-6110 * Fax G01-362-9812 « wawy.benchmarkms.com Hcl ast

D-000215
Case 3:16-cv-00489-CWR-BWR Document 179-7 Filed 03/01/22 Page 2 of 44

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BENCHMARK
CONSTRUCTION

1 CORPORATION

1867 Crane Ridge Dr, Sulte 200-A
P.O. Box 31177 Jackson, MS 39286-1777

Phone (601) 362-6110
Fax (601) 362-9812

INVOICE

NO.

0770172021
DATE:

N/A

YOUR ORDER NO.

SOLD TO: LOCATION: .
Hinds County Raymond Detention Center
Work Center/Jackson D C
Henley - Young
OUR JOB NO.: CONTRAGS DATE: AYTHQRIZED BY:
DESCRIPTION AMOUNT
INVOICE FOR JUNE 2021
David Marsh $ 3,358.00
Gary Chamblee $12,848.00
Willie Edmond $10,584.00
Timesheets Attached
TOTAL AMOUNT THIS INVOICE $26,790.00

eo PLEASE PAY FROM INVOICE e NO STATEMENT RENDERED e

D-000216
Case 3:16-cv-00489-CWR-BWR Document 179-7 Filed 03/01/22 Page 3 of 44

HINOS DETENTION FACILITIES

TIME SHEET RECAP
6/30/2021
7/1/2021 OESCRIPTION HOURS AMOUNT TOTAL
RAYMOHD DETENTION CENTER
Gary Chamblee 222 $73 $ 8,906.00
Willie Edmond 471 $56 $ 9,576.00
293.00 $ 18,482.00
HENLEY YOUNG
Wiltte Edmond 18 $56 $ 1,008.00
Gary Chamblee 30 $73 $ 2,150.00
48 $ 3,198.00
WORK CENTER
Willie Edmond 0 $56 $ .
Gary Chemblee 24 $73 $ 1,752.00
24 $ 1,752.00
JACKSON DETENTION CENTER
Gary Chamblee 0 $73 $
Wille Edmond 0 $56 $ :
0 5 ;
MEETINGS
Oavid Marsh 46 $73 $ 3,358.00
46 $ 3,358.00
TOTAL $ 26,790.00
TOTAL AMOUNT DUE $ 26,750.00

D-000217
Case 3:16-cv-00489-CWR-BWR

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HINOS DETENTION FACILITIES

TIME SHEET DAVID MARSH

Jun-21

DESCRIPTION

4G TOTAL MEETING HOURS x $73 =

Document 179-7 Filed 03/01/22 Page 4 of 44

HOURS

2.00
4.00
2.00
4,00
4.00
1.00
6.00
3.00
3.00
2.00
2.00
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3.00
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46.00

$ 3,358.00

D-000218
Case 3:16-cv-00489-CWR-BWR Document 179-7 Filed 03/01/22 Page 5 of 44

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337/IWSOdOUd DGU /SYIGUO YOM ALNNOD SANIH UNr-TzZ
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Case 3:16-cv-00489-CWR-BWR Document 179-7 Filed 03/01/22 Page 6 of 44

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HINDS DETENTION FACILITIES

TIME SHEET WILLIE EDMOND
6/30/2021
DESCRIPTION HOURS

WORK ORDER REVIEW. 9.00
WORK ORDER REVIEW. 9.00
WORK ORDER REVIEW. 9.00
WORK ORDER REVIEW. 9.00
WORK ORDER REVIEW. 9.00
WORK ORDER REVIEW, 9.00
WORK ORDER REVIEW. 9.00
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WORK ORDER REVIEW. 9,00
TOTAL RDC HOURS 189.00

189 TOTAL HOURS x$56= $ 10,584.00

$ 10,584.00

D-000220
Case 3:16-cv-00489-CWR-BWR Document 179-7 Filed 03/01/22 Page 7 of 44

md Ge; BENCHMARK

Daily Report
Raymond Work Center

1450 County Farm Road

Raymond, Ms 39154

Time

01:59 AM
06:06 AM
10:07 AM
02:09 PM
05:58 PM
09:59 PM

Temp
73°F
70°F
79°F
82°F
84°F
73°F

10:14 AM Wille Edmond
(Lat/Long: 32.245621,-90.400640]

JL Roberts demo old rooftop unit #6 and installed new one at Work Center for housing unit 1

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CONSTRUCTION
CORPORATION

W-Speed
OMPH
OMPH
OMPH
OMPH
8 MPH
OMPH

W-Gust
3 MPH
3 MPH
2MPH
3 MPH
8 MPH
1MPH

Thursday, Jun 03, 2024

Precip Condition
OIN Cloudy
OIN Fog
OIN Sunny
OIN Partly sunny
OIN Mostly cloudy
OIN Cloudy

Benchmark Construction | Raymond Work Center | Thursday, Jun 03,2021 | Page 1of 3

D-000221
Case 3:16-cv-00489-CWR-BWR Document 179-7 Filed 03/01/22 Page 8 of 44

Powered By NoteVault Benchmark Construction | Raymond Work Center | Thursday, Jun 03, 2021 | Page 2 of 3

D-000222
Case 3:16-cv-00489-CWR-BWR Document 179-7 Filed 03/01/22 Page 9 of 44

04:48 PM Wille Edmond
(Lat/Long: 32,244354,-90.403617]

Lewis Fire Protection wire up jockey pump and turn on system and said that the system has a somewhere

Iommmenld ¥ floent Li

Employee Signature:

Powered By NoteVault Benchmark Constructlon | Raymond Work Center | Thursday, Jun 03,2021 | Page 3 of 3

D-000223
Case 3:16-cv-00489-CWR-BWR Document 179-7 Filed 03/01/22 Page 10 of 44

CONSTRUCTION

[3¢ BENCHMARK
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Daily Report

Raymond Detention Center

4450 County Farm Rd
Raymond, MS 39154

Time

01:59 AM
06:06 AM
10:07 AM
02:09 PM
05:58 PM
09:59 PM

Name

CML Security

Total:

04:55 PM Wille Edmond
(Lat/Long: 32.244381,-90.403652]
Lewis Fire Protection wired jockey pump and replaced flanges and turn on system

Temp Hum
73°F 100%
70°F 100%
79°F 94%
82°F 61%
84°F 61%
73°F 100%
Cost Code

CORPORATION

Trade

W-Speed
OMPH
OMPH
OMPH
OMPH
8 MPH
OMPH

Class

W-Gust
3 MPH
3 MPH
2MPH
3 MPH
8 MPH
1MPH

Thursday, Jun 03, 2021

Precip Condition
OIN Cloudy
OIN Fog
OIN Sunny
OIN Partly sunny
OIN Mostly cloudy
OIN Cloudy

Worker(s) Hours Description
1 8.00
1 8,00

installled UPS systems at booking
and c pod

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Benchmark Construction | Rayniond Detention Center | Thursday, Jun 03, 2021 | Page 1 of 4

D-000224
Case 3:16-cv-00489-CWR-BWR Document 179-7 Filed 03/01/22 Page 11 of 44

Powered By NoteVault Benchmark Construction | Raymond Detention Center | Thursday, Jun 03, 2021 | Page 20f 4

D-000225
Case 3:16-cv-00489-CWR-BWR Document 179-7 Filed 03/01/22 Page 12 of 44

Powered By NoteVault Benchmark Construction | Raymond Detention Center | Thursday, Jun 03,2021 | Page 3 of 4

D-000226
Case 3:16-cv-00489-CWR-BWR Document 179-7 Filed 03/01/22 Page 13 of 44

Powered By NoteVault Benchmark Construction | Raymond Detention Center | Thursday, Jun 03, 2021 | Page 4 of 4

D-000227
Case 3:16-cv-00489-CWR-BWR

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CORPORATION

Daily Report
Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum = W-Dir
01:58 AM 72°F 100% N
06:07 AM 73°F 100% ESE
10:05 AM 82°F 100% S
01:59 PM 90°F 89% SSW
05:58 PM 86 °F 100% S
09:58 PM 79°F 100% SSE
Name CostCode ‘Trade

Hinds County Plumber
Total:

Powered By NoteVault

Document 179-7 Filed 03/01/22 Page 14 of 44

W-Speed
OMPH
4MPH
9MPH

12 MPH
3 MPH
4 MPH

Class

Tuesday, Jun 08, 2021

W-Gust Precip Condition
6 MPH 0.04 IN Cloudy

8 MPH OIN Cloudy

9 MPH OIN Cloudy
19MPH OIN Mostly cloudy

9 MPH OIN Partly sunny

4MPH OIN Cloudy

Worker(s) Hours Description
work on plumbing problems in b-
i 0.00 pod cells
1

Benchmark Construction | Raymond Detention Center | Tuesday, Jun 08,2021 | Page 1of 1

D-000228
Case 3:16-cv-00489-CWR-BWR Document 179-7 Filed 03/01/22 Page 15 of 44

[2¢ BENCHMARK

¢ CONSTRUCTION
CORPORATION

Daily Report
Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum W-Dir
01:58 AM 77°F 100% SSE
06:06 AM 75°F 100% ESE
09:59 AM 82°F 100% SW
01:59 PM 86°F 100% NNW
05:59 PM 86°F 100% SE
09:58 PM 70°F 100% ESE

Powered By NoteVault

W-Speed
3MPH
3 MPH
9MPH
8 MPH
3MPH
7 MPH

W-Gust
11 MPH
7 MPH
11MPH
11MPH
8 MPH
8 MPH

Wednesday, Jun 09, 2021

Precip Condition
OIN Mostly clear
OIN Mostly cloudy
OIN Cloudy
OIN Mostly cloudy
OIN Cloudy

0.35 IN Light rain

Benchmark Construction | Raymond Detention Center | Wednesday, Jun 09, 2021 | Page 10f9

D-000229
Case 3:16-cv-00489-CWR-BWR Document 179-7 Filed 03/01/22 Page 16 of 44

07:07 PM Wille Edmond
(Lat/Long: 32.323 174,-90.072520)

Hinds County Mantenance open welded doors,cleaned trash out of them,checked for breaching and tollet,sink operating.welded doors back that were not working and metal plates at
bottom of doors and missing glasses to keep Inmates from throwlng trash In A-2 pod
*A:2 Pod' Bottom Tler

Doors-5175-Open,Cleaned and left open

5177-7707"

5178-Open door,cleaned found hole incell at chase

wall. Welded door back

5103-open,cleaned and also found hole Incell..

welded door back

5184-open,cleaned and left open

5195-open,cleaned and found sink not

worklng welded door back and welded

metal plate at glass

5167-open,cleaned and left open

5189-open,cleaned and found holeIncellat chase

wall.welded door back and secured window

and door from trash belng put In

Top Tier

5550-opendoor,cleaned and found hole In cell at
chase wall.welded door back

5556-door was welded and secured fromtrash to
be put In_Leroy Lee and Capt Cannon sald

to leave as is. and to concentrate on the cells

wilh trash In for nove

§560-open,cleaned and left open

Powered By NoteVault Benchmark Construction | Raymond Detention Center | Wednesday, Jun 09, 2021 | Page 2 of 9

D-000230
Case 3:16-cv-00489-CWR-BWR Document 179-7 Filed 03/01/22 Page 17 of 44

Powered By NoteVault Benchmark Construction | Raymond Detention Center | Wednesday, Jun 09, 2021 | Page 3 of 9

D-000231
Case 3:16-cv-00489-CWR-BWR Document 179-7 Filed 03/01/22 Page 18 of 44

Powered By NoteVault Benchmark Construction | Raymond Detention Center | Wednesday, Jun 09, 2021 | Page 4 of 9

D-000232
Case 3:16-cv-00489-CWR-BWR Document 179-7 Filed 03/01/22 Page 19 of 44

Powered By NoteVault Benchmark Construction | Raymond Detention Center | Wednesday, Jun 09, 2021 | Page 5 of 9

D-000233
Case 3:16-cv-00489-CWR-BWR Document 179-7 Filed 03/01/22 Page 20 of 44

Powered By NoteVault Benchmark Construction | Raymond Detention Center | Wednesday, Jun 09, 2021| Page 6 of 9

D-000234
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Case 3:16-cv-00489-CWR-BWR Document 179-7 Filed 03/01/22 Page 21 of 44

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Case 3:16-cv-00489-CWR-BWR Document 179-7 Filed 03/01/22 Page 22 of 44

Powered By NoteVault Benchmark Construction | Raymond Detention Center | Wednesday, Jun 09, 2021 | Page 8 of 9

D-000236
Case 3:16-cv-00489-CWR-BWR Document 179-7 Filed 03/01/22 Page 23 of 44

Powered By NoteVault Benchmark Construction | Raymond Detention Center | Wednesday, Jun 09, 2021 | Page 9 of 9

D-000237
Case 3:16-cv-00489-CWR-BWR Document 179-7 Filed 03/01/22 Page 24 of 44

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CORPORATION

Daily Report
Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum W-Dir
01:58 AM 73°F 100% N
06:06 AM 75°F 100% SSW
09:59 AM 79°F 100% WNW
01:58 PM 75 °F 100% N
05:58 PM 75°F 100% N
09:58 PM 73°F 100% N

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W-Speed
4MPH
8 MPH
4MPH
OMPH
OMPH
OMPH

W-Gust
9MPH
11 MPH
8MPH
4 MPH
6MPH
2MPH

Thursday, Jun 10, 2021

Precip Condition
OIN Cloudy
OIN Mostly cloudy
0,04 IN Cloudy
0.07 IN Light rain
0.08 IN Cloudy
OJIN Partly cloudy

Benchmark Construction | Raymond Detention Center | Thursday, Jun 10, 2021 | Page 1 of 6

D-000238
Case 3:16-cv-00489-CWR-BWR Document 179-7 Filed 03/01/22 Page 25 of 44

07:28 PM Wille Edmond
[Lat/Long: 32.323287,-90.872245)

Hinds County Mantenence open welded cells doors,cleaned,cheeked for breaching,checked tollets and sinks operating properly,welded doors back and secured from trash In

A-l,and A-3

A-1 open,cleaned and welded back,secured from trash
*Doors*

5158,5159,5166,5167,5533,5534

*A-3 Doors*

5108-could not get door open.wvelded door back and
secured fromtrash

5112-no trash In.Jeft welded and secured from trash
5505

5511

5504-open welded cells doors, cleaned,found holes in valls
5507 welded doors back and secured from trash

5512

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Benchmark Construction | Raymond Detention Center | Thursday, Jun 10, 2021 | Page 2 of 6

D-000239
Case 3:16-cv-00489-CWR-BWR Document 179-7 Filed 03/01/22 Page 26 of 44

Povrered By NoteVault Benchmark Construction | Raymond Detention Center | Thursday, Jun 10,2021] Page 3 of 6

D-000240
Case 3:16-cv-00489-CWR-BWR Document 179-7 Filed 03/01/22 Page 27 of 44

Powered By NoteVault Benchmark Construction | Raymond Detention Center | Thursday, Jun 10, 2021 | Page 4 of 6

D-000241
Case 3:16-cv-00489-CWR-BWR Document 179-7 Filed 03/01/22 Page 28 of 44

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Powered By NoteVault Benchmark Construction | Raymond Detention Center | Thursday, Jun 10, 2021 | Page 5 of 6

D-000242
Case 3:16-cv-00489-CWR-BWR Document 179-7 Filed 03/01/22 Page 29 of 44

07:47 PM Wille Edmond
(Lat/Long: 32.323173,-90,872277]

JL Roberts and HCM assisted on opening a/c welded doors in A-4 and A-3 unit to check out why it’s hot
A-2,A-4 and pod control units still have pneumatic valves

A-3 has hole in duct at unit from breach..

Powered By NoteVault Benchmark Construction | Raymond Detention Center | Thursday, Jun 10,2021 | Page 6 of 6

D-000243
Case 3:16-cv-00489-CWR-BWR Document 179-7 Filed 03/01/22 Page 30 of 44

=) Gs BENCHMARK
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Daily Report

Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time

01:59 AM
06:05 AM
09:58 AM
02:09 PM
05:58 PM
09:54 PM

Temp
75°F
72°F
86°F
91°F
91°F
77°F

07:33 PM Wille Edmond
[Lat/Long: 32.323318,-90.872575)

JL Roberts repaired holes in a/c duct..one in A-3 and one in A-2, both holes at unit

Hum
100%
100%

94%

55%

55%
100%

W-Dir

z

ae oe SZ

Powered By NoteVault

W-Speed
OMPH
OMPH
3MPH
OMPH
3MPH
OMPH

W-Gust
2MPH
3 MPH
3MPH

414 MPH

11 MPH
5 MPH

Tuesday, Jun 15, 2021

Precip Condition
OIN Mostly clear
OIN Fog
OIN Sunny
OIN Sunny
OIN Sunny
OIN Partly cloudy

Benchmark Construction | Raymond Detention Center | Tuesday, Jun 15, 2021 | Page 1 of 4

D-000244
Case 3:16-cv-00489-CWR-BWR Document 179-7 Filed 03/01/22 Page 31 of 44

Powered By NoteVault Benchmark Construction | Raymond Detention Center | Tuesday, Jun 15,2021 | Page 2 of 4

D-000245
Case 3:16-cv-00489-CWR-BWR Document 179-7 Filed 03/01/22 Page 32 of 44

07:45 PM Wille Edmond
[Lat/Long: 32.323197,-90.872700]

JL Roberts demo old and installed new a/c duct camper in A-2 unit at a/c.unit

Powered By NoteVault Benchmark Construction | Raymond Detention Center | Tuesday, Jun 15,2021 | Page 3 of 4

D-000246
Case 3:16-cv-00489-CWR-BWR Document 179-7 Filed 03/01/22 Page 33 of 44

Powered By NoteVault Benchmark Construction | Raymond Detention Center | Tuesday, Jun 15, 2021 | Page 4 of 4

D-000247
Case 3:16-cv-00489-CWR-BWR Document 179-7 Filed 03/01/22 Page 34 of 44

CONSTRUCTION
GS conPoRATION

[2¢ BENCHMARK

Daily Report Wednesday, Jun 16, 2021

Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum = W-Dir W-Speed W-Gust Precip Condition
01:59 AM 75°F 100% N OMPH 6MPH OIN Clear

05:58 AM 68 °F 100% N OMPH 4MPH OIN Mostly sunny
10:05 AM 82°F 61% N 4 MPH 4 MPH OIN Sunny

01:59 PM 86°F 42% N 4MPH 11 MPH OIN Sunny

05:54 PM 86°F 43% ENE 5 MPH 8 MPH OIN Sunny

09:58 PM 72°F 100% N OMPH 3 MPH OIN Partly cloudy

04:51 PM Wille Edmond
(Lat/Long: 32.323240,-90,872451]

JL Roberts demo and installed air handler pulley on B-2 unit

04:56 PM Wille Edmond
[Lat/Long: 32.323238,-90.872534]

Damaged duct in A-4 unit that's stopping properly alr flow

Powered By NoteVault Benchmark Construction | Raymond Detention Center | Wednesday, Jun 16, 2021 | Page 1 of 3

D-000248
Case 3:16-cv-00489-CWR-BWR Document 179-7 Filed 03/01/22 Page 35 of 44

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Powered By NoteVault Benchmark Construction | Raymond Detention Center | Wednesday, Jun 16, 2021 | Page 2 of 3

D-000249
Case 3:16-cv-00489-CWR-BWR Document 179-7 Filed 03/01/22 Page 36 of 44

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Video Files:

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Povyered By NoteVault Benchmark Construction | Raymond Detention Center | Wednesday, Jun 16, 2021 | Page 3 of 3

D-000250
Case 3:16-cv-00489-CWR-BWR Document 179-7 Filed 03/01/22 Page 37 of 44

De pecan

CORPORATION
Daily Report Monday, Jun 21, 2021

Henley~Young Juvenile Justice

940 E McDowell Rd
Jackson, MS 39204

Time Temp Hum  W-Dir W-Speed W-Gust Precip Condition

01:59 AM 81°F 76% SW 14 MPH 23MPH OIN Cloudy

06:06 AM 76°F 87% S 7 MPH 9MPH OIN Cloudy

10:09 AM 78°F 78% SSW 10 MPH 12 MPH OIN Cloudy

01:59 PM 86°F 60% SSW 10 MPH 10 MPH OIN Mostly sunny

05:58 PM 75 °F 83% WNW 11MPH 37 MPH 0.09 1N Thunderstorm

09:58 PM 71°F 89% SSW 16 MPH 25 MPH 0.611N Cloudy

Name CostCode Trade Class Worker(s) Hours Description

B &E Communication 2 8.00 ae boards and
Total: 2 8.00

11:45 PM Wille Edmond
[Lat/Long: 32.323245,-90.872527]

B&E Communication demo old doors control system and pull wires for new system

Powered By NoteVault Benchmark Construction | Henley-Young Juvenile Justice | Monday, Jun 21, 2021 | Page 1 of 2

D-000251
Case 3:16-cv-00489-CWR-BWR Document 179-7 Filed 03/01/22 Page 38 of 44

Employee Signature:

Powered By NoteVault Benchmark Construction | Henley-Young Juventle Justice | Monday, Jun 21,2021 | Page 2 of 2

D-000252
Case 3:16-cv-00489-CWR-BWR Document 179-7 Filed 03/01/22 Page 39 of 44

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CORPORATION

[Be BENCHMARK
rae

Daily Report
Henley-Young Juvenile Justice

940 E McDowell Rd
Jackson, MS 39204

Time Temp Hum  W-Dir
01:59 AM 68°F 87% N
05:58 AM 72°F 78% E
10:06 AM 77°F 70% ESE
02:06 PM 88 °F 58% NE
05:58 PM 88 °F 60% N
09:59 PM 82°F 73% N
Name CostCode Trace

B & E Communication

Total:

Employee Signature:

Powered By NoteVault

W-Speed
OMPH
4 MPH
6 MPH
4 MPH
3 MPH
OMPH

Class

W-Gust
1MPH
4MPH
6MPH
4MPH
3MPH
3MPH

Wednesday, Jun 23, 2021

Precip Condition
OIN Mostly clear
OIN Cloudy
OIN Cloudy
OIN Cloudy
OIN Mostly cloudy
OIN Mostly cloudy

Worker(s) Hours Description

Demo old wire and pull new wires
2 8,00 frompod control to central
control

2 8,00

Benchmark Construction | Henley-Young Juvenile Justice | Wednesday, Jun 23, 2021 | Page 1 of 1

D-000253
Case 3:16-cv-00489-CWR-BWR Document 179-7 Filed 03/01/22 Page 40 of 44

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CORPORATION

Daily Report Tuesday, Jun 29, 2021
Raymond Work Center

1450 County Farm Road
Raymond, Ms 39154

Time Temp Hum W:Dir W-Speed W-Gust Precip Condition
01:59 AM 72°F 100% N OMPH 4MPH OIN Mostly clear
05:58 AM 70°F 100% N OMPH 3 MPH OIN Clear

10:08 AM 84°F 100% SE 6MPH 6MPH OIN Partly sunny
02:08 PM 90 °F 74% N 4 MPH 7 MPH OIN Mostly sunny
05:59 PM 86°F 78% S 9MPH 19 MPH OIN Partly sunny
09:59 PM 75°F 100% ESE 3 MPH 6 MPH OIN Mostly cloudy

11:47 PM Wille Edmond
(Lat/Long: 32.323147,-90.872381]

Lewis Fire Protection demo old and installed new ball valve,address all other leaks and Inspected and pass entire sprinkler system

Powered By NateVault Benchmark Constructlon | Raymond Work Center | Tuesday, Jun 29, 2021 | Page 1 of 2

D-000254
Case 3:16-cv-00489-CWR-BWR Document 179-7 Filed 03/01/22 Page 41 of 44

Employee Signature:

Powered By NoteVault Benchmark Constructlon | Raymond Work Center | Tuesday, Jun 29, 2021 | Page 2 of 2

D-000255
Case 3:16-cv-00489-CWR-BWR Document 179-7 Filed 03/01/22 Page 42 of 44

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Daily Report Tuesday, Jun 29, 2021

Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum = W-Dir W-Speed W-Gust Precip Condition
01:59 AM 72°F 100% N OMPH 4MPH OIN Mostly clear
05:58 AM 70°F 100% N OMPH 3MPH OIN Clear

10:08 AM 84°F 100% SE 6MPH 6MPH OIN Partly sunny
02:08 PM 90 °F 74% N 4MPH 7 MPH OIN Mostly sunny
05:59 PM 86°F 78% s 9MPH 419 MPH OIN Partly sunny
09:59 PM 75 °F 100% ESE 3MPH 6MPH OIN Mostly cloudy

11:53 PM Wille Edmond
[Lat/Long: 32.323199,-90.87 2382]

Inspected and tested entire sprinkler system at RDC

Powered By NoteVault Benchmark Constructlon | Raymond Detention Center | Tuesday, Jun 29, 2021 | Page 1 of 2

D-000256
Case 3:16-cv-00489-CWR-BWR Document 179-7 Filed 03/01/22 Page 43 of 44

B-1025
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Powered By NoteVault Benchmark Construction | Raymond Detention Center | Tuesday, Jun 29, 2021 | Page 2 of 2

D-000257
Case 3:16-cv-00489-CWR-BWR Document 179-7 Filed 03/01/22 Page 44 of 44

EXHIBIT NO. | -| 4 : pyuok
CAUSE NO

WITNESS _|
CLERK: TWANA SUMMERS

FEB 24 2022

UNITED STATES DISTRICT COURT
QUTH RN DISTRICT OF MISSISSIPPI
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